        Case
8/4/23, 2:05 PM 0:23-cv-61523-JB        Document 1-2   Entered
                                                  Case Detail - Publicon  FLSDCounty
                                                                       - Broward Docket    08/08/2023
                                                                                     Clerk of Courts  Page 1 of 105

   Smart City Capital LLC Plaintiff vs. Rahul Bhardwaj, et al Defendant


       Broward County Case Number: CACE23015818
       State Reporting Number: 062023CA015818AXXXCE
       Court Type: Civil
       Case Type: Contract and Indebtedness
       Incident Date: N/A
       Filing Date: 07/18/2023
       Court Location: Central Courthouse
       Case Status: Pending
       Magistrate Id / Name: N/A
       Judge ID / Name: 07 Tuter, Jack




                                                                                                                    Total: 10
     −     Party(ies)


         Party                                                                          Attorneys / Address
         Type           Party Name                                       Address          Denotes Lead Attorney


         Plaintiff      Smart City Capital LLC                                               Cagan, Scott Lawrence
                                                                                                    Retained
                                                                                                 Bar ID: 822681
                                                                                              Gray Robinson, P.A
                                                                                          401 East Las Olas Blvd., Suite
                                                                                                      1000
                                                                                           Fort Lauderdale, FL 33301-
                                                                                                      0000
                                                                                                 Status: Active



         Defendant      Bhardwaj, Rahul



         Defendant      Sanford, James M



         Defendant      Bidwell, Michael



         Defendant      Digital Infrastructure Group, Inc.



         Defendant      Digital Infrastructure Capital Group, LLC




https://www.browardclerk.org/Web2/CaseSearchECA/CaseDetail/?caseid=MTIxMDI2Njg%3d-PdwUJ6n%2bM3Y%3d&caseNum=CACE23015818&cat… 1/4
        Case
8/4/23, 2:05 PM 0:23-cv-61523-JB      Document 1-2   Entered
                                                Case Detail - Publicon  FLSDCounty
                                                                     - Broward Docket    08/08/2023
                                                                                   Clerk of Courts  Page 2 of 105

         Party                                                                            Attorneys / Address
         Type         Party Name                                         Address            Denotes Lead Attorney


         Defendant    SAG Harbor Advisors, Inc.



         Defendant    Meridiam Infrastructure North American
                      Corporation



         Defendant    OnlightL3C, LLC



         Defendant    Pegues, Michael




                                                                                                                         Total: 0
     −    Disposition(s)


         Date                        Statistical Closure(s)


         Date                Disposition(s)                              View                   Page(s)




                                                                                                                         Total: 0
     −    Collection(s)

     There is no Collection information available for this case.



                                                                                                                        Total: 13
     −    Event(s) & Document(s)



         Date         Description                                       Additional Text                    View     Pages


         07/21/2023   eSummons Issuance
                                                                        Party: Defendant Bhardwaj,
                                                                                                                   2

                                                                        Rahul

         07/21/2023   eSummons Issuance
                                                                                                                   2
                                                                        Party: Defendant Sanford,
                                                                        James M


         07/21/2023   eSummons Issuance
                                                                                                                   2
                                                                        Party: Defendant Bidwell,
                                                                        Michael


https://www.browardclerk.org/Web2/CaseSearchECA/CaseDetail/?caseid=MTIxMDI2Njg%3d-PdwUJ6n%2bM3Y%3d&caseNum=CACE23015818&cat… 2/4
        Case
8/4/23, 2:05 PM 0:23-cv-61523-JB     Document 1-2   Entered
                                               Case Detail - Publicon  FLSDCounty
                                                                    - Broward Docket    08/08/2023
                                                                                  Clerk of Courts  Page 3 of 105

       Date           Description                                       Additional Text                   View    Pages


       07/21/2023     eSummons Issuance
                                                                                                                 2
                                                                        Party: Defendant Digital
                                                                        Infrastructure Group, Inc.


       07/21/2023     eSummons Issuance
                                                                                                                 2
                                                                        Party: Defendant Digital
                                                                        Infrastructure Capital Group,
                                                                        LLC


       07/21/2023     eSummons Issuance
                                                                                                                 2
                                                                        Party: Defendant SAG Harbor
                                                                        Advisors, Inc.

       07/21/2023     eSummons Issuance
                                                                                                                 2
                                                                        Party: Defendant Meridiam
                                                                        Infrastructure North American
                                                                        Corporation


       07/21/2023     eSummons Issuance
                                                                                                                 2
                                                                        Party: Defendant OnlightL3C,
                                                                        LLC


       07/21/2023     eSummons Issuance
                                                                                                                 2
                                                                        Party: Defendant Pegues,
                                                                        Michael


       07/18/2023     Per AOSC20-23 Amd12, Case is determined
                      General


       07/18/2023     Civil Cover Sheet
                                                                                                                 3

                                                                        Amount: $100,001.00


       07/18/2023     Complaint (eFiled)                                FOR DAMAGES AND
                                                                                                                 67
                                                                        PERMANENT INJUNCTIVE
                                                                        RELIEF
                                                                        Party: Plaintiff Smart City
                                                                        Capital LLC


       07/18/2023     Notice of Intent to File in Complex Business      NOTICE OF INTENT TO FILE
                                                                                                                 2
                      & Tort Division                                   NEW CASE IN THE
                                                                        COMPLEX BUSINESS OR
                                                                        TORT DIVISION
                                                                        Party: Plaintiff Smart City
                                                                        Capital LLC




https://www.browardclerk.org/Web2/CaseSearchECA/CaseDetail/?caseid=MTIxMDI2Njg%3d-PdwUJ6n%2bM3Y%3d&caseNum=CACE23015818&cat… 3/4
        Case
8/4/23, 2:05 PM 0:23-cv-61523-JB     Document 1-2   Entered
                                               Case Detail - Publicon  FLSDCounty
                                                                    - Broward Docket    08/08/2023
                                                                                  Clerk of Courts  Page 4 of 105
                                                                                                                     Total: 0
     −   Hearing(s)

     There is no Disposition information available for this case.



                                                                                                                     Total: 0
     −   Related Case(s)

     There is no related case information available for this case.




https://www.browardclerk.org/Web2/CaseSearchECA/CaseDetail/?caseid=MTIxMDI2Njg%3d-PdwUJ6n%2bM3Y%3d&caseNum=CACE23015818&cat… 4/4
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 5 of 105




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   DOCUMENT INFORMATION
   Agency Name:                           Broward County Clerk of Courts
   Clerk of the Circuit
                                          Honorable Brenda D. Forman
   Court:
   Date Issued:                           8/8/2023 12:35:02 PM
   Unique Reference
                                          CAA-FAA-BCABB-HCAADJEC-GJBGCG-J
   Number:
                                          7/18/2023 - Notice of Intent to File in Complex Business &
   Case Docket:
                                          Tort Division - 2 Pages
   Requesting Party
                                          500
   Code:
   Requesting Party
                                          A202308081230311148
   Reference:



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                                                            Filing# 177680886 E-Filed 07/18/2023 03:04:21 PM



                                                                                                                               IN THE CIRCUIT COURT OF THE
                                                                                                                               17TH JUDICIAL CIRCUIT, IN AND
                                                                                                                               FOR BROWARD COUNTY,
Unique Code : CAA-FAA-BCABB-HCAADJEC-GJBGCG-J Page 1 of 2




                                                                                                                               FLORIDA

                                                                                                                               CASE NO.

                                                                    SMART CITY CAPITAL, LLC,

                                                                              Plaintiff,

                                                                    V

                                                                    RAHUL BHARDWAJ, JAMES M. SANFORD,
                                                                    MICHAEL BIDWELL, DIGITAL INFRASTRUCTURE
                                                                    GROUP, INC., DIGITAL INFRASTRUCTURE
                                                                    CAPITAL GROUP, LLC, SAG HARBOR ADVISORS,
                                                                    INC., MERIDIAM INFRASTRUCTURE NORTH
                                                                    AMERICA CORPORATION, ONLIGHTL3C, LLC,
                                                                    and MICHAEL PEGUES,

                                                                              Defendants.
                                                                                                                               i



                                                                                            NOTICE OF INTENT TO FILE NEW CASE IN THE
                                                                                              COMPLEX BUSINESS OR TORT DIVISION
                                                                    THIS ACTION IS APPROPRIATE FOR ASSIGNMENT TO A COMPLEX BUSINESS OR
                                                                    TORT DIVISION AND COMPLIES WITH REQUIREMENTS FOR FILING IN SUCH
                                                                    COMPLEX LITIGATION DIVISION AS SET FORTH IN ADMINISTRATIVE ORDER 2017-
                                                                    35-Civ.


                                                                    Is this a tort case which meets the criteria ofAdministrative Order 2017-35-Civ?


                                                                              YES                                NO     X

                                                                    Is this a business case which meets the criteria of Administrative Order 2017-35-Civ?



                                                                              YES    X                           NO
                                                                    Is this a class action case?


                                                                              YES                                NO     X
                                                                    I CERTIFY the information herein is accurate and this case meets the criteria pursuant to
                                                                    Administrative Order 2017-35-Civ for filingin the complex business or tort division of the
                                                                    Seventeenth Judicial Circuit.




                                                                        *** FILED: BROWARD
                                                                                               COUNTY, FL BRENDA D. FORMAN, CLERK 07/18/2023 03:04:19 PM.****

                                                                                                               Digitally signed by The Honorable Brenda D. Forman
                                                                                                               Date: 2023.08.08 12:35:03 -04:00
                                                                                                               Reason: Electronic Certified Copy
                                                                                                               Location: 201 S.E. 6th Street, Fort Lauderdale, FL
                                                                                                               33301
                                                            Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 7 of 105




                                                                  Dated this 18th day of July,2023.
Unique Code : CAA-FAA-BCABB-HCAADJEC-GJBGCG-J Page 2 of 2




                                                                                                      Respectfullysubmitted,

                                                                                                      GRAYROBINSON, P.A.
                                                                                                      / Scott L. Cagan,   Esq.
                                                                                                      SCOTT L. CAGAN, ESQ.
                                                                                                      Florida Bar No.. 822681

                                                                                                      Scott.cagan@gray-robinson.com
                                                                                                      GrayRobinson, P.A.
                                                                                                      401 E. Las Olas Boulevard, Suite 1000
                                                                                                      Fort Lauderdale, FL 33301-4210
                                                                                                      Phone: 954-761-8111


                                                                                                                          Smart CityCapital,LLC
                                                                                                      Counsel for Plaintiff,




                                                                  /17014/2#50963471 vl
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 8 of 105




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         DOCUMENT INFORMATION
         Agency Name:                                  Broward County Clerk of Courts
         Clerk of the Circuit Court:                   Honorable Brenda D. Forman
         Date Issued:                                  8/8/2023 12:34:58 PM
         Unique Reference Number:                      CAA-FAA-BCABB-HCAADJBH-GJBGCF-D
         Case Docket:                                  7/18/2023 - Civil Cover Sheet - 3 Pages
         Requesting Party Code:                        500
         Requesting Party Reference:                   A202308081230311148



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                                                             Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 9 of 105



                                                            Filing# 177680886 E-Filed 07/18/2023 03:04:21 PM




                                                                    FORM 1.997.         CIVIL COVER SHEET
Unique Code : CAA-FAA-BCABB-HCAADJBH-GJBGCF-D Page 1 of 3




                                                                    The civil cover sheet and the information contained in it neither replacenor supplement the filing
                                                                    and service of pleadings or other documents as requiredby law. This form must be filed by the
                                                                    plaintiffor petitionerwith the Clerk of Court for the purpose of reportinguniform data pursuant
                                                                    to section 25.075, Florida Statutes. (See instructions for completion.)



                                                                            I.       CASE STYLE

                                                                            IN THE CIRCUIT/COUNTY COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT,
                                                                                        IN AND FOR BROWARD COUNTY, FLORIDA

                                                                    Smart City Capital,LLC
                                                                    Plaintiff                                                                 Case #
                                                                                                                                              Judge
                                                                    VS.
                                                                   Rahul Bhardwaj, James M. Sanford, Michael Bidwell, DigitalInfrastructure Group, Inc., Digital
                                                                   Infrastructure CapitalGroup, LLC, SAG Harbor Advisors, Inc., Meridiam Infrastructure North
                                                                   American Corporation,OnlightL3C, LLC, Michael Pegues
                                                                    Defendant




                                                                            II.      AMOUNT OF CLAIM
                                                                   Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
                                                                   the claim is requested for data collection and clerical processing purposes only. The amount of the claim
                                                                   shall not be used for any other purpose.


                                                                    E $8,000 or less
                                                                    El $8,001 - $30,000

                                                                    El $30,001- $50,000

                                                                    .U $50,001- $75,000
                                                                    El $75,001 - $100,000

                                                                    E over $100,000.00
                                                                            III.     TYPE OF CASE             (Ifthe case fits more than one type of case,    select the most
                                                                                        If the most descriptive
                                                                    definitive category.)                     label is a subcategory(isindented under a broader

                                                                             place an x on both the main category and subcategorylines.
                                                                    category),




                                                                                                                       -1-

                                                                       *** FILED: BROWARD
                                                                                               COUNTY, FL BRENDA D. FORMAN, CLERK 07/18/2023 03:04:19 PM.****

                                                                                                                   Digitally signed by The Honorable Brenda D. Forman
                                                                                                                   Date: 2023.08.08 12:34:58 -04:00
                                                                                                                   Reason: Electronic Certified Copy
                                                                                                                   Location: 201 S.E. 6th Street, Fort Lauderdale, FL
                                                                                                                   33301
                                                            Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 10 of 105




                                                                   CIRCUIT CIVIL
                                                                   m Condominium
Unique Code : CAA-FAA-BCABB-HCAADJBH-GJBGCF-D Page 2 of 3




                                                                   m Contracts and indebtedness
                                                                   m Eminent domain
                                                                   m Auto negligence
                                                                   m Negligence-other
                                                                          m Business governance
                                                                          m Business torts
                                                                          m Environmental/Toxic tort
                                                                          m Third party indemnification
                                                                          m Construction defect
                                                                          m Mass tort
                                                                          m Negligent security
                                                                          m Nursing home negligence
                                                                          m Premises
                                                                          m Premises liability-residential
                                                                   m Products liability
                                                                   m Real Property/Mortgage foreclosure
                                                                         m Commercial foreclosure
                                                                         m Homestead residential foreclosure
                                                                         m Non-homestead residential foreclosure
                                                                         m Other real property actions

                                                                   El Professional malpractice

                                                                          m
                                                                          m Malpractice-medical
                                                                          m Malpractice-otherprofessional
                                                                   m Other
                                                                          m Antitrust/Trade regulation
                                                                          m Business transactions
                                                                          m Constitutional challenge-statuteor ordinance
                                                                          m Constitutional challenge-proposed amendment
                                                                          m Corporatetrusts
                                                                          m Discrimination-employment or other
                                                                          m Insurance claims
                                                                          m Intellectual property
                                                                          m Libel/Slander
                                                                          m Shareholder derivative action
                                                                          m Securities litigation
                                                                          m Trade secrets
                                                                          m Trust litigation

                                                                   COUNTY CIVIL
                                                                   O Small Claims up to $8,000
                                                                   O Civil
                                                                   1 Real property/Mortgageforeclosure
                                                                                                                   -2-
                                                            Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 11 of 105




                                                                   O Replevins
                                                                   0 Evictions
                                                                          O Residential Evictions
Unique Code : CAA-FAA-BCABB-HCAADJBH-GJBGCF-D Page 3 of 3




                                                                          0 Non-residential Evictions
                                                                   El Other civil (non-monetary)



                                                                                                          COMPLEX BUSINESS COURT
                                                                  This action is appropriatefor assignment to Complex Business Court as delineated and mandated by the
                                                                  Administrative Order.      Yes E No E


                                                                            IV.        REMEDIES SOUGHT (check all that apply):
                                                                             @ Monetary;
                                                                             @ Nonmonetary declaratoryor injunctiverelief;
                                                                             E]   Punitive


                                                                            V.         NUMBER OF CAUSES OF ACTION: [ ]
                                                                             (Specify)

                                                                                  11


                                                                            VI.        IS THIS CASE A CLASS ACTION LAWSUIT?
                                                                                       0 yes
                                                                                       @ no

                                                                            VII.       HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                                                                                       @ no
                                                                                       O yes If"yes,"list all related cases by name, case number, and court.

                                                                            VIII.      IS JURY TRIAL      DEMANDED IN COMPLAINT?
                                                                                       W yes
                                                                                       O no

                                                                            IX.        DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?
                                                                                       0 yes
                                                                                       @ no

                                                                   I   CERTIFY that the information I have provided in this cover sheet is accurate to the best of
                                                                   my knowledge and belief,and that I have read and will comply with the requirementsof
                                                                   Florida Rule of Judicial Administration 2.425.


                                                                   Signature:s/ Scott Lawrence Cagan                        Fla. Bar # 822681

                                                                                       Attorneyor party                                    (Bar # if attorney)

                                                                  Scott Lawrence Cagan                                      07/18/2023
                                                                   (typeor printname)                                Date

                                                                                                                     -3-
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 12 of 105
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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 14 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 15 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 16 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 17 of 105
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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 19 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 20 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 21 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 22 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 23 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 24 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 25 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 26 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 27 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 28 of 105
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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 31 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 32 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 33 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 34 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 35 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 36 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 37 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 38 of 105
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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 40 of 105
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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 42 of 105
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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 45 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 46 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 47 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 48 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 49 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 50 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 51 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 52 of 105
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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 54 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 55 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 56 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 57 of 105
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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 59 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 60 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 61 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 62 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 63 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 64 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 65 of 105
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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 68 of 105
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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 70 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 71 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 72 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 73 of 105
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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 78 of 105
Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 79 of 105




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         Agency Name:                                 Broward County Clerk of Courts
         Clerk of the Circuit Court:                  Honorable Brenda D. Forman
         Date Issued:                                 8/8/2023 12:35:42 PM
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         Case Docket:                                 7/21/2023 - eSummons Issuance - 2 Pages
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                                                                                                                                 IN THE CIRCUIT COURT OF THE
                                                                                                                                 17TH JUDICIAL CIRCUIT, IN AND
                                                                                                                                 FOR BROWARD COUNTY,
Unique Code : CAA-FAA-BCABB-HCBCFEHC-GJBGDF-B Page 1 of 2




                                                                                                                                 FLORIDA

                                                                                                                                 CASE NO. CACE-23-015818


                                                                    SMART CITY CAPITAL, LLC,

                                                                            Plaintiff,

                                                                    V

                                                                    RAHUL BHARDWAJ, JAMES M. SANFORD,
                                                                    MICHAEL BIDWELL, DIGITAL INFRASTRUCTURE
                                                                    GROUP, INC., DIGITAL INFRASTRUCTURE
                                                                    CAPITAL GROUP, LLC, SAG HARBOR ADVISORS,
                                                                    INC., MERIDIAM INFRASTRUCTURE NORTH
                                                                    AMERICA CORPORATION, ONLIGHTL3C, LLC,
                                                                    and MICHAEL PEGUES,

                                                                            Defendants.
                                                                                                                                 i



                                                                                                               SUMMONS
                                                                    THE STATE OF FLORIDA:
                                                                    To Each Sheriff of Said State(s):

                                                                    YOU ARE HEREBY COMMANDED to serve this Summons and Complaint for Damages and
                                                                    Permanent InjunctiveRelief (the"Complaint") on Defendant:

                                                                                                          MICHAEL PEGUES
                                                                                                            43-W Galena Blvd.
                                                                                                            Aurora, IL 60506

                                                                    The Defendant is requiredto serve written defenses to the Complaint on Plaintiff's attorney, to
                                                                    wit: Scott L. Cagan, Esquire, GrayRobinson, P.A., 401 East Las Olas Boulevard, Suite

                                                                    1000, Fort Lauderdale, FL 33301           (954) 761-8111 within 20 days "Except when suit is
                                                                                                           -

                                                                    brought pursuant     to §768.28, Florida  Statutes, if the State of Florida, one of its agencies, or
                                                                    one of its officials or employees sued in his or her official capacity is a defendant, the time
                                                                    to respond shall be 40 davs. When suit is brought pursuant to §768.28, Florida Statutes,
                                                                    the time to respond shall be 30 davs." after service of the Summons on the Defendant
                                                                    exclusive of the day of service, and to file the originalof the defenses with the Clerk of this
                                                                    Court either before service on Plaintiff's attorney or immediately thereafter. If a Defendant fails




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                                                                                                                33301
                                                            Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 81 of 105




                                                                   to   do   so, a default will   be entered againstthat Defendant for the relief demanded in the
                                                                   Complaint.
Unique Code : CAA-FAA-BCABB-HCBCFEHC-GJBGDF-B Page 2 of 2




                                                                             DATED this 21st day of July,2023
                                                                                                                              CLERK OF THE CIRCUIT COURT


                                                                                                                              By-
                                                                                                                                       Deputy Clerk



                                                                                                                 IMPORTANTE

                                                                   Usted ha sido demandado legalmente.         Tiene veinte (20) dias, contados a partir del recibo de esta
                                                                   notificacion,para contestar la demanda adjunta,por escrito,y presentarlaante este tribunal. Una 11amada
                                                                   telefonica no lo protegera; si usted desea que el tribunal considere su defensa, debe presentar su respuesta

                                                                   por escrito,incluyendo el numero del caso y los nombres de las partes interesadas en dicho caso. Si usted
                                                                   no contesta la demanda a tiempo, pudiese perder el caso y podria ser despojado de sus ingresos y
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                                                                   lo desea, puede usted consultar a un abogado immediatamente.       Si no conoce a un abogado, puede 11amar
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                                                                   Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta ante el
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                                                                   abajo como "Plaintiff/Plaintiff's Attorney." (Demandate o Abogado del Demanadante).



                                                                                                                  IMPORTANT

                                                                            Des poursuites judiciariesont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir
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                                                                   ce Tribunal. Un simple coup de telephone est insuffisant pour vous proteger; vous etes oblige de deposer
                                                                   votre reponse ecrite,avec mention du numero de dossier ci-dessus et du nom des partiesnommees ici,si
                                                                   vous souhaitez que le Tribunal entende votre cause. Si vous ne deposez pas votre reponse ecrite dans le
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                                                                                                          ',
                                                                   ecrite au "PlaintiffA?laintiffsAttorney" (Plaignant




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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 82 of 105




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                                                                                                                                 IN THE CIRCUIT COURT OF THE
                                                                                                                                 17TH JUDICIAL CIRCUIT, IN AND
                                                                                                                                 FOR BROWARD COUNTY,
Unique Code : CAA-FAA-BCABB-HCBCFEGG-GJBGDE-G Page 1 of 2




                                                                                                                                 FLORIDA

                                                                                                                                 CASE NO. CACE-23-015818


                                                                    SMART CITY CAPITAL, LLC,

                                                                            Plaintiff,

                                                                    V

                                                                    RAHUL BHARDWAJ, JAMES M. SANFORD,
                                                                    MICHAEL BIDWELL, DIGITAL INFRASTRUCTURE
                                                                    GROUP, INC., DIGITAL INFRASTRUCTURE
                                                                    CAPITAL GROUP, LLC, SAG HARBOR ADVISORS,
                                                                    INC., MERIDIAM INFRASTRUCTURE NORTH
                                                                    AMERICA CORPORATION, ONLIGHTL3C, LLC,
                                                                    and MICHAEL PEGUES,

                                                                            Defendants.
                                                                                                                                 i



                                                                                                               SUMMONS
                                                                    THE STATE OF FLORIDA:
                                                                    To Each Sheriff of Said State(s):

                                                                    YOU ARE HEREBY COMMANDED to serve this Summons and Complaint for Damages and
                                                                    Permanent InjunctiveRelief (the"Complaint") on Defendant:


                                                                                                          ONLIGHTL3C, LLC
                                                                                                            43-W Galena Blvd.
                                                                                                            Aurora, IL 60506

                                                                    The Defendant is requiredto serve written defenses to the Complaint on Plaintiff's attorney, to
                                                                    wit: Scott L. Cagan, Esquire, GrayRobinson, P.A., 401 East Las Olas Boulevard, Suite

                                                                    1000, Fort Lauderdale, FL 33301           (954) 761-8111 within 20 days "Except when suit is
                                                                                                           -

                                                                    brought pursuant     to §768.28, Florida  Statutes, if the State of Florida, one of its agencies, or
                                                                    one of its officials or employees sued in his or her official capacity is a defendant, the time
                                                                    to respond shall be 40 davs. When suit is brought pursuant to §768.28, Florida Statutes,
                                                                    the time to respond shall be 30 davs." after service of the Summons on the Defendant
                                                                    exclusive of the day of service, and to file the originalof the defenses with the Clerk of this
                                                                    Court either before service on Plaintiff's attorney or immediately thereafter. If a Defendant fails




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                                                                                                                33301
                                                            Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 84 of 105




                                                                   to   do   so, a default will   be entered againstthat Defendant for the relief demanded in the
                                                                   Complaint.
Unique Code : CAA-FAA-BCABB-HCBCFEGG-GJBGDE-G Page 2 of 2




                                                                             DATED this 21st day of July,2023
                                                                                                                              CLERK OF THE CIRCUIT COURT


                                                                                                                              By-
                                                                                                                                       Deputy Clerk



                                                                                                                 IMPORTANTE

                                                                   Usted ha sido demandado legalmente.         Tiene veinte (20) dias, contados a partir del recibo de esta
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                                                                   por escrito,incluyendo el numero del caso y los nombres de las partes interesadas en dicho caso. Si usted
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                                                                   abajo como "Plaintiff/Plaintiff's Attorney." (Demandate o Abogado del Demanadante).



                                                                                                                  IMPORTANT

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                                                                                                                                IN THE CIRCUIT COURT OF THE
                                                                                                                                17TH JUDICIAL CIRCUIT, IN AND
                                                                                                                                FOR BROWARD COUNTY,
Unique Code : CAA-FAA-BCABB-HCBCFEGB-GJBGDD-J Page 1 of 2




                                                                                                                                FLORIDA

                                                                                                                                CASE NO. CACE-23-015818


                                                                    SMART CITY CAPITAL, LLC,

                                                                            Plaintiff,

                                                                    V

                                                                    RAHUL BHARDWAJ, JAMES M. SANFORD,
                                                                    MICHAEL BIDWELL, DIGITAL INFRASTRUCTURE
                                                                    GROUP, INC., DIGITAL INFRASTRUCTURE
                                                                    CAPITAL GROUP, LLC, SAG HARBOR ADVISORS,
                                                                    INC., MERIDIAM INFRASTRUCTURE NORTH
                                                                    AMERICA CORPORATION, ONLIGHTL3C, LLC,
                                                                    and MICHAEL PEGUES,

                                                                            Defendants.
                                                                                                                                i



                                                                                                              SUMMONS
                                                                    THE STATE OF FLORIDA:
                                                                    To Each Sheriff of Said State(s):

                                                                    YOU ARE HEREBY COMMANDED to serve this Summons and Complaint for Damages and
                                                                    Permanent InjunctiveRelief (the"Complaint") on Defendant:

                                                                            MERIDIAM INFRASTRUCTURE NORTH AMERICAN CORPORATION
                                                                                                       605 Third Ave., 36th Floor
                                                                                                         New York, NY 10158

                                                                    The Defendant is requiredto serve written defenses to the Complaint on Plaintiff's attorney, to
                                                                    wit: Scott L. Cagan, Esquire, GrayRobinson, P.A., 401 East Las Olas Boulevard, Suite

                                                                    1000, Fort Lauderdale, FL 33301 - (954) 761-8111 within 20 days "Except when suit is
                                                                    brought pursuant to §768.28, Florida Statutes, if the State of Florida, one of its agencies, or
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                                                                                                               33301
                                                            Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 87 of 105




                                                                   to   do   so, a default will   be entered againstthat Defendant for the relief demanded in the
                                                                   Complaint.
Unique Code : CAA-FAA-BCABB-HCBCFEGB-GJBGDD-J Page 2 of 2




                                                                             DATED this 21st day of July,2023
                                                                                                                              CLERK OF THE CIRCUIT COURT


                                                                                                                              By-
                                                                                                                                       Deputy Clerk



                                                                                                                 IMPORTANTE

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                                                                                                                                 IN THE CIRCUIT COURT OF THE
                                                                                                                                 17TH JUDICIAL CIRCUIT, IN AND
                                                                                                                                 FOR BROWARD COUNTY,
Unique Code : CAA-FAA-BCABB-HCBCFEFG-GJBGDC-B Page 1 of 2




                                                                                                                                 FLORIDA

                                                                                                                                 CASE NO. CACE-23-015818


                                                                    SMART CITY CAPITAL, LLC,

                                                                            Plaintiff,

                                                                    V

                                                                    RAHUL BHARDWAJ, JAMES M. SANFORD,
                                                                    MICHAEL BIDWELL, DIGITAL INFRASTRUCTURE
                                                                    GROUP, INC., DIGITAL INFRASTRUCTURE
                                                                    CAPITAL GROUP, LLC, SAG HARBOR ADVISORS,
                                                                    INC., MERIDIAM INFRASTRUCTURE NORTH
                                                                    AMERICA CORPORATION, ONLIGHTL3C, LLC,
                                                                    and MICHAEL PEGUES,

                                                                            Defendants.
                                                                                                                                 i



                                                                                                               SUMMONS
                                                                    THE STATE OF FLORIDA:
                                                                    To Each Sheriff of Said State(s):

                                                                    YOU ARE HEREBY COMMANDED to serve this Summons and Complaint for Damages and
                                                                    Permanent InjunctiveRelief (the"Complaint") on Defendant:

                                                                                                   SAG HARBOR ADVISORS, INC.
                                                                                                           107 Stony Hill Road
                                                                                                          Sag Harbor, NY 11963

                                                                    The Defendant is requiredto serve written defenses to the Complaint on Plaintiff's attorney, to
                                                                    wit: Scott L. Cagan, Esquire, GrayRobinson, P.A., 401 East Las Olas Boulevard, Suite

                                                                    1000, Fort Lauderdale, FL 33301           (954) 761-8111 within 20 days "Except when suit is
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                                                            Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 90 of 105




                                                                   to   do   so, a default will   be entered againstthat Defendant for the relief demanded in the
                                                                   Complaint.
Unique Code : CAA-FAA-BCABB-HCBCFEFG-GJBGDC-B Page 2 of 2




                                                                             DATED this 21st day of July,2023
                                                                                                                              CLERK OF THE CIRCUIT COURT


                                                                                                                              By-
                                                                                                                                       Deputy Clerk



                                                                                                                 IMPORTANTE

                                                                   Usted ha sido demandado legalmente.         Tiene veinte (20) dias, contados a partir del recibo de esta
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                                                                   por escrito,incluyendo el numero del caso y los nombres de las partes interesadas en dicho caso. Si usted
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                                                                   Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta ante el
                                                                   tribunal, debera usted enviar por con*eo o entregar una copia de su respuesta a la persona denominada
                                                                   abajo como "Plaintiff/Plaintiff's Attorney." (Demandate o Abogado del Demanadante).



                                                                                                                  IMPORTANT

                                                                            Des poursuites judiciariesont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir
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                                                                   pouvez requerir les services immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez
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                                                                   Si vous choisissez de deposer vous-meme une reponse ecrite,il vous faudra egalement, en memo temps
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                                                                                                          ',
                                                                   ecrite au "PlaintiffA?laintiffsAttorney" (Plaignant




                                                                   /17014/2#50981358 vl




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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 91 of 105




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                                                                                                                                IN THE CIRCUIT COURT OF THE
                                                                                                                                17TH JUDICIAL CIRCUIT, IN AND
                                                                                                                                FOR BROWARD COUNTY,
Unique Code : CAA-FAA-BCABB-HCBCFEED-GJBGDA-D Page 1 of 2




                                                                                                                                FLORIDA

                                                                                                                                CASE NO. CACE-23-015818


                                                                    SMART CITY CAPITAL, LLC,

                                                                            Plaintiff,

                                                                    V

                                                                    RAHUL BHARDWAJ, JAMES M. SANFORD,
                                                                    MICHAEL BIDWELL, DIGITAL INFRASTRUCTURE
                                                                    GROUP, INC., DIGITAL INFRASTRUCTURE
                                                                    CAPITAL GROUP, LLC, SAG HARBOR ADVISORS,
                                                                    INC., MERIDIAM INFRASTRUCTURE NORTH
                                                                    AMERICA CORPORATION, ONLIGHTL3C, LLC,
                                                                    and MICHAEL PEGUES,

                                                                            Defendants.
                                                                                                                                i



                                                                                                              SUMMONS
                                                                    THE STATE OF FLORIDA:
                                                                    To Each Sheriff of Said State(s):

                                                                    YOU ARE HEREBY COMMANDED to serve this Summons and Complaint for Damages and
                                                                    Permanent InjunctiveRelief (the"Complaint") on Defendant:

                                                                                           DIGITAL INFRASTRUCTURE GROUP, INC.
                                                                                                      60 Columbia Way, Suite 200
                                                                                                         Markham, ON L3R 0C9

                                                                    The Defendant is requiredto serve written defenses to the Complaint on Plaintiff's attorney, to
                                                                    wit: Scott L. Cagan, Esquire, GrayRobinson, P.A., 401 East Las Olas Boulevard, Suite

                                                                    1000, Fort Lauderdale, FL 33301 - (954) 761-8111 within 20 days "Except when suit is
                                                                    brought pursuant to §768.28, Florida Statutes, if the State of Florida, one of its agencies, or
                                                                    one of its officials or employees sued in his or her official capacity is a defendant, the time
                                                                    to respond shall be 40 davs. When suit is brought pursuant to §768.28, Florida Statutes,
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                                                                    exclusive of the day of service, and to file the originalof the defenses with the Clerk of this
                                                                    Court either before service on Plaintiff's attorney or immediately thereafter. If a Defendant fails




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                                                                                                               33301
                                                            Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 93 of 105




                                                                   to   do   so, a default will   be entered againstthat Defendant for the relief demanded in the
                                                                   Complaint.
Unique Code : CAA-FAA-BCABB-HCBCFEED-GJBGDA-D Page 2 of 2




                                                                             DATED this 21st day of July,2023
                                                                                                                              CLERK OF THE CIRCUIT COURT


                                                                                                                              By-
                                                                                                                                       Deputy Clerk



                                                                                                                 IMPORTANTE

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                                                                   ecrite au "PlaintiffA?laintiffsAttorney" (Plaignant




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                                                                                                                                 IN THE CIRCUIT COURT OF THE
                                                                                                                                 17TH JUDICIAL CIRCUIT, IN AND
                                                                                                                                 FOR BROWARD COUNTY,
Unique Code : CAA-FAA-BCABB-HCBCFEEA-GJBGCJ-B Page 1 of 2




                                                                                                                                 FLORIDA

                                                                                                                                 CASE NO. CACE-23-015818


                                                                    SMART CITY CAPITAL, LLC,

                                                                            Plaintiff,

                                                                    V

                                                                    RAHUL BHARDWAJ, JAMES M. SANFORD,
                                                                    MICHAEL BIDWELL, DIGITAL INFRASTRUCTURE
                                                                    GROUP, INC., DIGITAL INFRASTRUCTURE
                                                                    CAPITAL GROUP, LLC, SAG HARBOR ADVISORS,
                                                                    INC., MERIDIAM INFRASTRUCTURE NORTH
                                                                    AMERICA CORPORATION, ONLIGHTL3C, LLC,
                                                                    and MICHAEL PEGUES,

                                                                            Defendants.
                                                                                                                                 i



                                                                                                               SUMMONS
                                                                    THE STATE OF FLORIDA:
                                                                    To Each Sheriff of Said State(s):

                                                                    YOU ARE HEREBY COMMANDED to serve this Summons and Complaint for Damages and
                                                                    Permanent InjunctiveRelief (the"Complaint") on Defendant:

                                                                                                        MICHAEL BIDWELL
                                                                                                          2100-222 3 Ave SW
                                                                                                      Calgary Alberta CA T2P 0B4

                                                                    The Defendant is requiredto serve written defenses to the Complaint on Plaintiff's attorney, to
                                                                    wit: Scott L. Cagan, Esquire, GrayRobinson, P.A., 401 East Las Olas Boulevard, Suite

                                                                    1000, Fort Lauderdale, FL 33301           (954) 761-8111 within 20 days "Except when suit is
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                                                                    brought pursuant     to §768.28, Florida  Statutes, if the State of Florida, one of its agencies, or
                                                                    one of its officials or employees sued in his or her official capacity is a defendant, the time
                                                                    to respond shall be 40 davs. When suit is brought pursuant to §768.28, Florida Statutes,
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                                                                    exclusive of the day of service, and to file the originalof the defenses with the Clerk of this
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                                                                                             COUNTY, FL BRENDA D. FORMAN, CLERK 07/21/2023 04:09:15 PM.****

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                                                            Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 96 of 105




                                                                   to   do   so, a default will   be entered againstthat Defendant for the relief demanded in the
                                                                   Complaint.
Unique Code : CAA-FAA-BCABB-HCBCFEEA-GJBGCJ-B Page 2 of 2




                                                                             DATED this 21st day of July,2023
                                                                                                                              CLERK OF THE CIRCUIT COURT


                                                                                                                              By-
                                                                                                                                       Deputy Clerk



                                                                                                                 IMPORTANTE

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                                                                                                                                 IN THE CIRCUIT COURT OF THE
                                                                                                                                 17TH JUDICIAL CIRCUIT, IN AND
                                                                                                                                 FOR BROWARD COUNTY,
Unique Code : CAA-FAA-BCABB-HCBCFEDF-GJBGCI-D Page 1 of 2




                                                                                                                                 FLORIDA

                                                                                                                                 CASE NO. CACE-23-015818


                                                                    SMART CITY CAPITAL, LLC,

                                                                            Plaintiff,

                                                                    V

                                                                    RAHUL BHARDWAJ, JAMES M. SANFORD,
                                                                    MICHAEL BIDWELL, DIGITAL INFRASTRUCTURE
                                                                    GROUP, INC., DIGITAL INFRASTRUCTURE
                                                                    CAPITAL GROUP, LLC, SAG HARBOR ADVISORS,
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                                                                    and MICHAEL PEGUES,

                                                                            Defendants.
                                                                                                                                 i



                                                                                                               SUMMONS
                                                                    THE STATE OF FLORIDA:
                                                                    To Each Sheriff of Said State(s):

                                                                    YOU ARE HEREBY COMMANDED to serve this Summons and Complaint for Damages and
                                                                    Permanent InjunctiveRelief (the"Complaint") on Defendant:

                                                                                                         JAMES M. SANFORD
                                                                                                           107 Stony Hill Road
                                                                                                          Sag Harbor, NY 11963

                                                                    The Defendant is requiredto serve written defenses to the Complaint on Plaintiff's attorney, to
                                                                    wit: Scott L. Cagan, Esquire, GrayRobinson, P.A., 401 East Las Olas Boulevard, Suite

                                                                    1000, Fort Lauderdale, FL 33301           (954) 761-8111 within 20 days "Except when suit is
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                                                            Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 99 of 105




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                                                                             DATED this 21st day of July,2023
Unique Code : CAA-FAA-BCABB-HCBCFEDF-GJBGCI-D Page 2 of 2




                                                                                                                              CLERK OF THE CIRCUIT COURT


                                                                                                                              By-
                                                                                                                                       Deputy Clerk



                                                                                                                 IMPORTANTE

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          Clerk of the Circuit Court:                  Honorable Brenda D. Forman
          Date Issued:                                 8/8/2023 12:35:07 PM
          Unique Reference Number:                     CAA-FAA-BCABB-HCBCFEDB-GJBGCH-E
          Case Docket:                                 7/21/2023 - eSummons Issuance - 2 Pages
          Requesting Party Code:                       500
          Requesting Party Reference:                  A202308081230311148



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                                                                                                                                 IN THE CIRCUIT COURT OF THE
                                                                                                                                 17TH JUDICIAL CIRCUIT, IN AND
                                                                                                                                 FOR BROWARD COUNTY,
Unique Code : CAA-FAA-BCABB-HCBCFEDB-GJBGCH-E Page 1 of 2




                                                                                                                                 FLORIDA

                                                                                                                                 CASE NO. CACE-23-015818

                                                                    SMART CITY CAPITAL, LLC,

                                                                            Plaintiff,

                                                                    V

                                                                    RAHUL BHARDWAJ, JAMES M. SANFORD,
                                                                    MICHAEL BIDWELL, DIGITAL INFRASTRUCTURE
                                                                    GROUP, INC., DIGITAL INFRASTRUCTURE
                                                                    CAPITAL GROUP, LLC, SAG HARBOR ADVISORS,
                                                                    INC., MERIDIAM INFRASTRUCTURE NORTH
                                                                    AMERICA CORPORATION, ONLIGHTL3C, LLC,
                                                                    and MICHAEL PEGUES,

                                                                            Defendants.
                                                                                                                                 i



                                                                                                              SUMMONS
                                                                    THE STATE OF FLORIDA:
                                                                    To Each Sheriff of Said State(s):

                                                                    YOU ARE HEREBY COMMANDED to serve this Summons and Complaint for Damages and
                                                                    Permanent InjunctiveRelief (the"Complaint") on Defendant:

                                                                                                         RAHUL BHARDWAJ
                                                                                                          5906 Silverton Drive
                                                                                                            Allen, TX 75002

                                                                    The Defendant is required to serve written defenses to the Complaint on Plaintiff's attorney, to
                                                                    wit: Scott L. Cagan, Esquire, GrayRobinson, P.A., 401 East Las Olas Boulevard, Suite

                                                                    1000, Fort Lauderdale, FL 33301 - (954) 761-8111 within 20 days "Except when suit is
                                                                    brought pursuant to §768.28, Florida Statutes, if the State of Florida, one of its agencies, or
                                                                    one of its officials or employees sued in his or her official capacity is a defendant, the time
                                                                    to respond shall be 40 davs. When suit is brought pursuant to §768.28, Florida Statutes,
                                                                    the time to respond shall be 30 davs." after service of the Summons on the Defendant
                                                                    exclusive of the day of service, and to file the originalof the defenses with the Clerk of this
                                                                    Court either before service on Plaintiff's attorney or immediately thereafter. If a Defendant fails
                                                                    to do so, a default will be entered against that Defendant for the relief demanded in the

                                                                    Complaint.




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                                                                                             COUNTY, FL BRENDA D. FORMAN, CLERK 07/21/2023 04:09:15 PM.****

                                                                                                               Digitally signed by The Honorable Brenda D. Forman
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                                                                                                               Location: 201 S.E. 6th Street, Fort Lauderdale, FL
                                                                                                               33301
                                                            Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 102 of 105




                                                                            DATED this 21st day of July,2023
Unique Code : CAA-FAA-BCABB-HCBCFEDB-GJBGCH-E Page 2 of 2




                                                                                                                                CLERK OF THE CIRCUIT COURT


                                                                                                                                By-
                                                                                                                                        Deputy Clerk



                                                                                                                 IMPORTANTE

                                                                   Usted ha sido demandado legalmente.         Tiene veinte (20) dias, contados a partir del recibo de esta
                                                                   notificacion, para contestar la demanda adjunta,por escrito,y presentarlaante este tribunal.Una 11amada
                                                                   telefonica no lo protegera; si usted desea que el tribunal considere su defensa, debe presentar su respuesta

                                                                   por escrito,incluyendo el numero del caso y los nombres de las partes interesadas en dicho caso. Si usted
                                                                   no contesta la demanda a tiempo, pudiese perder el caso y podria ser despojado de sus ingresos y
                                                                   propiedades,o privado de sus derechos, sin previo aviso del tribunal. Existen otros requisitoslegales.Si
                                                                   lo desea, puede usted consultar a un abogado immediatamente.        Si no conoce a un abogado, puede 11amar
                                                                   a una de las oficinas de asistencia legal que aparecen en la guia telefonica.


                                                                   Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta ante el

                                                                   tribunal,debera usted enviar por con*eo o entregar una copia de su respuesta a la persona denominada
                                                                   abajo como "Plaintiff/Plaintiff's Attorney." (Demandate o Abogado del Demanadante).



                                                                                                                  IMPORTANT

                                                                            Des poursuites judiciariesont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir
                                                                   de la date de l'assignationde cette citation pour deposer une reponse ecrite a la plaintecitjointeaupres de
                                                                   ce Tribunal. Un simple coup de telephone est insuffisant pour vous proteger; vous etes oblige de deposer
                                                                   votre reponse ecrite,avec mention du numero de dossier ci-dessus et du nom des partiesnommees ici,si
                                                                   vous souhaitez que le Tribunal entende votre cause.       Si vous ne deposez pas votre reponse ecrite dans le
                                                                   relai requis,vous risquez de perdre la cause ainsi que votre salaire,votre argent, et vos biens peuvent etre
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                                                                                                                      ou a son avocat)nomme ci-dessoul.
                                                                                                           ',
                                                                   ecrite au "PlaintiffA?laintiffs Attorney" (Plaignant




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Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 103 of 105




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                                                                                                                                 IN THE CIRCUIT COURT OF THE
                                                                                                                                 17TH JUDICIAL CIRCUIT, IN AND
                                                                                                                                 FOR BROWARD COUNTY,
Unique Code : CAA-FAA-BCABB-HCBCFEFA-GJBGDB-G Page 1 of 2




                                                                                                                                 FLORIDA

                                                                                                                                 CASE NO. CACE-23-015818


                                                                    SMART CITY CAPITAL, LLC,

                                                                            Plaintiff,

                                                                    V

                                                                    RAHUL BHARDWAJ, JAMES M. SANFORD,
                                                                    MICHAEL BIDWELL, DIGITAL INFRASTRUCTURE
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                                                                    CAPITAL GROUP, LLC, SAG HARBOR ADVISORS,
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                                                                    AMERICA CORPORATION, ONLIGHTL3C, LLC,
                                                                    and MICHAEL PEGUES,

                                                                            Defendants.
                                                                                                                                 i



                                                                                                               SUMMONS
                                                                    THE STATE OF FLORIDA:
                                                                    To Each Sheriff of Said State(s):

                                                                    YOU ARE HEREBY COMMANDED to serve this Summons and Complaint for Damages and
                                                                    Permanent InjunctiveRelief (the"Complaint") on Defendant:

                                                                                     DIGITAL INFRASTRUCTURE CAPITAL GROUP, LLC
                                                                                                CapitolServices,Inc. (RegisteredAgent)
                                                                                                          108 Lakeland Ave.
                                                                                                            Dover, DE 19901

                                                                    The Defendant is requiredto serve written defenses to the Complaint on Plaintiff's attorney, to
                                                                    wit: Scott L. Cagan, Esquire, GrayRobinson, P.A., 401 East Las Olas Boulevard, Suite

                                                                    1000, Fort Lauderdale, FL 33301           (954) 761-8111 within 20 days "Except when suit is
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                                                            Case 0:23-cv-61523-JB Document 1-2 Entered on FLSD Docket 08/08/2023 Page 105 of 105




                                                                   to   do   so, a default will   be entered againstthat Defendant for the relief demanded in the
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Unique Code : CAA-FAA-BCABB-HCBCFEFA-GJBGDB-G Page 2 of 2




                                                                             DATED this 21st day of July,2023
                                                                                                                              CLERK OF THE CIRCUIT COURT


                                                                                                                              By-
                                                                                                                                       Deputy Clerk



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